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UNITED sTATES DISTRICT CoURT
‘ soUTHERN DISTRICT oF FLORIDA

CASE NO. 01-6582-CIV-DIMITROULEAS
UNITED STATES OF AMERICA,
Magistrate Judge Johnson
Plaintiff,

vs. aid
FILED bv _, D_r‘. '
,4_* .,.

ONE SINGLE FAMILY RESIDENCE AT
2200 SW 28TH AVENUE, FORT LAUDERDALE, 1
FLORIDA etc., MAY 6 2002

CLARENCE MADDOX
CLERK U.S. D|ST. CT.

D€f€ndant. s.D. oF FLA. FT. LAuo.

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FINAL ORDER OF FORFEITURE
THIS CAUSE is before the Court upon the Court’s granting of Plaintiff’ s Motion for

Sumrnary Judgment. The Court has concluded that Plaintiff, United States of America, is

entitled to an order of forfeiture of the above named property.
Accordingly, it is ORDERED AND ADJUDGED as follows:

l. The Defendant real property, as more fully described in the caption of this order and
Plaintiff' s complaint, is hereby forfeited to the United States of America and no right,
title or interest in the property shall exist in any other party, other than the possibly still
pending contract of sale between M. Cheeley, P.A. (signed June 27, 2001) and Claimant
Estate of J ames Christenson (signed September 24, 2001) and as to the rights agreed to in
the settlement agreement between the United States and Equity Max, lnc;

2. This Order of Forfeiture is without prejudice to any contractual rights of M.Cheeley, and
does not express an opinion either way as to whether the forfeiture order voids the

possibly still pending contract;

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3. The Court retains jurisdiction for any appropriate post-judgment motions.

DON,E AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, 7

this z (day of May, 2002.

 

United States Distric.t Judge

Copies furnished to:

William Beckerleg, AUSA (Ft. Laud)
Harry Ross, Esq.

Roy Diaz, Esq.

Eve Rosen, Esq.

